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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x

UNITED STATES OF AMERICA
                                                              S5 22 Cr. 673 (LAK)
                  v.

SAMUEL BANKMAN-FRIED,

                               Defendant.
--------------------------------------------------x


         DECLARATION OF CHRISTIAN R. EVERDELL IN SUPPORT OF
           SAMUEL BANKMAN-FRIED'S MOTION TO COMPEL THE
        GOVERNMENT TO PRODUCE DOCUMENTS AND FOR AN ORDER
      AUTHORIZING A SUBPOENA TO BE SERVED ON FENWICK & WEST LLP

         I, Christian R. Everdell, an attorney duly admitted to practice before this Court hereby

declare pursuant to 28 U.S.C. § 1746 and Local Criminal Rule 16.1 as follows:

         1.       I am a partner of the law firm Cohen & Gresser LLP, attorneys for Samuel

Bankman-Fried.

         2.       Attached as Exhibit 1 is a true and correct copy of an excerpt of the transcript of

the hearing held on February 6, 2023, in the United States Bankruptcy Court, District of

Delaware, in In re: FTX Trading Ltd., et al., Case No. 22-11068.
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       3.      I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct, pursuant to 28 U.S.C. § 1746.


Dated: May 30, 2023
       New York, New York

                                                     Respectfully submitted,




                                                     Christian R. Everdell
                                                     COHEN & GRESSER LLP
                                                     800 Third Avenue, 21 st Floor
                                                     New York, NY I 0022
                                                     (212) 957-7600
                                                     ceverdell@cohengresser.com

                                                     Attorneys for Samuel Bankman-Fried




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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 30, 2023, I served via Federal Express overnight delivery,

pursuant to Federal Rule of Criminal Procedure 49 and Local Civil Rule 5.3 and Local Criminal

Rule 1.1 of the Local Rules of the United States District Courts for the Southern and Eastern

Districts of New York, the attached declaration, and any accompanying exhibits and attachments

thereto upon the following non-party:


       Fenwick & West LLP
       c/o Nancy Hart, Esq.
       Gibson, Dunn & Crutcher LLP
       200 Park A venue
       New York, New York 10166
       nhart@gibsondunn.com




                                                    Christian R. Everdell




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